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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION



United States of America                           )
                                                   )
                       Plaintiff                   )
                                                   )
v.                                                 )   CIVIL ACTION NO. 1:15cv1106
All Assets in Australia and Elsewhere              )
Listed in Attachment A, and All Interest,          )
Benefits, and Assets Traceable Thereto,            )
                       Defendants in Rem           )



                                      ENTRY OF DEFAULT


               In accordance with plaintiff’s request to enter default and the declaration of Karen

Ledbetter Taylor, counsel of record for plaintiff, the Clerk of this Court does hereby enter the

default against the defendant assets as the claims to these assets filed by Kim Dotcom, Mathias

Ortmann, Megamedia Limited, Megarotic Limited, Megaupload Limited, and Megavideo Limited

have been stricken by this Court and all other potential claimants claiming an interest have failed to

plead or otherwise defend as provided by the Federal Rules of Civil Procedure.


       The entry of default is in accordance with Rule 55(a) Federal Rules of Civil Procedure.


                                                   FERNANDO GALINDO
                                                      CLERK OF COURT


                                                       By: __________/s/__________
                                                           Kathy Lau
                                                           DEPUTY CLERK


Dated: 1/16/18
